PHOB- 12 Case 2:90-cr-20089-SH|\/| Document 33 Filed 07/28/05 Page 1 of 3 Page|D 20

 

 

(Rev. 3/88)
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UNI ED STA ES DISTRICT COURT w B¥“%“~“_o£
for

05 JuL 28 PH 3= 3~§~

WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION w OF TN! MEMH_B
U.S.A. vS. ROCK]E LANE HILLLIARD D0cket No. Z_Qo_C_BM

Petition on Probation and Supervised Release

COMES NOW MARNIE KLYMAN PROBATION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude ofRockie Lane Hilliard who was placed on supervision by the Honorable
Odell Horton sitting in the Court at Memphis, TN on the L_th day of March, 1 993 who fixed the period of supervision
at four 141 years*, and imposed the general terms and conditions theretofore adopted by the court and also imposed
special conditions and terms as follows:

 

 

The defendant shall be subject to drug testing and a treatment program when directed by the Probation Oflice.

*Term of Supervised Release began J unc 9, 2003.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
PLEASE SEE ATTACHED SI:IEET

PRAYING THAT THE COURT WILL ORDER a Summons be issued for Mr. Hilliard to appear before the Court
to answer charges of violation of Supervised Release.

ORDER OF COURT I declare under penalty of perjury that the foregoing
7 is true and correct.

CorBidered and ogiered this t ‘HUay
of 20 _°_;>and ordered filed and Executed
made a part of the records in the above case. on 3 Ml‘;t l.S;,__J_~O 95

U.S. Probation Oi’ficer

 

United States Distriet fudge
Place: Memnhis, Tennessee

This dochent entered on the docket sheet in compHance
with sine 55 and!or szrb) Fsch on » ~6

PROB 12 Case 2:90-cr-20089-SHI\/| Document 33 Filed 07/28/05 Page 2 of 3 Page|D 21

Hilliard, Rockie Lane
Docket No. 2:90CR20089~03
Page 2

RESPECTFULI_.Y PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
THE DEFENDANT HAS VIOLATED THE FOLLOWING C()NDITIONS OF SUPERVISED RELEASE:
The defendant shall not commit another federal, state, or local crime.

On June 10, 2005, Mr. Hilliard was arrested and charged by the Memphis Police Department with Unlawful
Possession of a Controlled Substance with Intent to Sell/DeliverManufacnire to wit: Crack Cocaine. Members of
the Organjzed Crime Unit conducted a bust buy operation in the area of Tillman and Johnson Street utilizing
Detective Yancey as the decoy. Mr. Hilliard sold Detective Yancey 0.2 grams of crack cocaine for $10.00. Mr.
Hilliard was released on a $30,000 bond and a preliminary hearing is set for August 4, 2005.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:90-CR-20089 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

Joseph C. Murphy

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Honorable Julia Gibbons
US DISTRICT COURT

